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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            :
                                                    :
                 v.                                 :       CRIMINAL CASE NO. 22-cr-326-RBW
                                                    :
JAMES BRADLEY,                                      :
                                                    :
                 Defendant.                         :

               GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING

        From approximately October 2016 through May 2018, defendant James Bradley helped to

embezzle approximately $205,421.82 from the American Federation of Government Employees

(“AFGE”). He did so by enabling co-conspirator Donnell Owens—who worked at AFGE as a

Secretary to the Director of Communications during the relevant period—to submit false and

fraudulent check requests and invoices for non-existent videography services that the defendant

did not actually provide to AFGE. As compared to Owens, the defendant had a minor role in the

embezzlement scheme.          Nonetheless, his knowing, willful, and voluntary actions helped to

exploit AFGE’s trust in Owens, and AFGE suffered financial hardship because of the defendant’s

participation in the crime. The government recommends that the Court sentence the defendant to

a within-guidelines term of 15 months, followed by three years of supervised release, with

$205,421.82 in restitution, $205,421.82 in a forfeiture money judgment, and a $100 special

assessment.1 Such a sentence would be sufficient but not greater than necessary to comply with

the purposes of sentencing.




1
  The government asks that restitution be joint and several with Donnell Owens, who was previously sentenced in
related case U.S. v. Owens, 21-cr-602-RBW, and with Stacy Staples, who was previously sentenced in related case
U.S. v. Staples, 22-cr-266-RBW.
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       I.      Factual Background

       As noted in the statement of offense (ECF No. 7) and Presentence Investigation Report

(“PSR”) (ECF No. 17), the defendant was a known associate of co-conspirator Owens, who was

permanently hired by AFGE in October 2014 as a Secretary to the Director of Communications.

Shortly thereafter, by July 2015, Owens began his multi-pronged embezzlement scheme, which he

continued through his termination in June 2018.

       In October 2016, the defendant knowingly, willfully, and voluntarily joined Owens in the

fraud, agreeing to execute the embezzlement scheme and to take specific steps in furtherance

thereof—that is, to obtain money from AFGE under false pretenses, for work the defendant did

not perform. His role in the scheme was that of a purported vendor for AFGE, which as he knew,

Owens then submitted thirty-four false and fraudulent check requests and invoices to AFGE for

payments related to videography services that were purportedly provided by the defendant as an

alleged AFGE vendor. However, as the defendant knew, AFGE never approved him as a vendor,

and these check requests listed fictitious dollar amounts for fake work assignments he supposedly

performed for AFGE. Accordingly, no such services were provided or, to the extent that they

were provided, the services were performed by legitimate AFGE employees or vendors who were

not involved in the scheme, rather than by the defendant.

       For his role in the scheme, AFGE’s accounting department authorized payments to the

defendant totaling approximately $205,421.82. The defendant knowingly and willfully received

and accepted each payment, keeping a portion of the fraudulently-obtained funds for himself, and

providing the other portion of the funds to Owens per their unlawful plan.




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         Notably, the defendant also took affirmative steps designed to enable AFGE to pay him,

and to lead AFGE to believe that he was, and intended to be, a legitimate vendor to whom AFGE

disbursed funds in exchange for real work. For example, he sent an email to Owens’s AFGE

account requesting payment for “services rendered” in connection with a purported videography

project he did for AFGE. Owens then forwarded the email to AFGE’s accounting department to

prompt faster processing of the fraudulent check request. The next day as part of the same email

chain, upon receiving an email from Owens informing him that payment would be issued the

following day, the defendant responded, in part, “I must be candid and say that it is very important

that I receive payment by COB today. I have worked with your company on several project[s].”

          Procedural Background

         To his credit, the defendant admitted responsibility before he was criminally charged and

agreed to plead guilty to one count of Conspiracy to Commit Embezzlement and Theft of Labor

Union Assets, 18 U.S.C. § 371.              An information was filed on September 29, 2022, and the

defendant promptly pleaded guilty on November 7, 2022.2

         As the parties noted in the plea agreement, Conspiracy to Commit Embezzlement and Theft

of Labor Union Assets carries a maximum sentence of five years of imprisonment; a fine of

$250,000 or twice the pecuniary gain or loss of the offense, pursuant to 18 U.S.C. §§ 3571(b)(3);

a term of supervised release of not more than three years, pursuant to 18 U.S.C. § 3583(b)(2);




2
  For ease of reference, as previously noted in the statement of offense (at 1), to prove a violation of Conspiracy to
Commit Embezzlement and Theft from a Labor Organization (29 U.S.C. § 501(c)), the government must prove the
following elements: (1) that two or more persons; (2) conspired; (3) to commit the offense of embezzlement and theft
from a labor organization in violation of 29 U.S.C. § 501(c). In turn, the elements of embezzlement and theft from a
labor organization in violation of 29 U.S.C. § 501(c), are: (1) a union officer or employee of the victim “labor
organization”; (2) unlawfully deprived (embezzled, converted, stole, or abstracted); (3) the property or assets of said
“labor organization”; and did so with (4) fraudulent intent.
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mandatory restitution under 18 U.S.C. § 3663A; and an obligation to pay any applicable interest

or penalties on fines and restitution not timely made.

         II.      U.S. Sentencing Guidelines

         In the plea agreement, the parties contemplated that the defendant’s offense level under the

U.S. Sentencing Guidelines (“USSG”) would be offense level 14 or 12 after giving either a two-

level reduction for being a “minor participant” in the scheme under U.S.S.G. § 3B1.2(b), or a four-

level reduction for being a “minimal participant” under U.S.S.G. § 3B1.2(a). The parties further

contemplated that the defendant’s final offense level would be offense level 12 or 10 after giving

an additional two levels of credit for acceptance of responsibility. However, based on the facts in

the statement of offense, the PSR writer chose not to include any reduction for a mitigating role

under § 3B1.2 (PSR ¶¶ 26, 120). Thus, the relevant USSG provisions at issue here are:

         U.S.S.G. § 2B1.1(a)(2)              Base Offense Level                                      6
         U.S.S.G. § 2B1.1(b)(1)(F)           Loss >$150,000 ($205,421.82)                           +10
         U.S.S.G. § 3B1.2(b)                 Mitigating Role/Minor Participant                       -2
         U.S.S.G. § 3E1.1(a), (b)            Acceptance of Responsibility                            -33

The PSR writer concluded (and the government agrees) that the defendant has a criminal history

score of two, putting him in Criminal History Category II.

         At Criminal History Category II and total offense level of 13, as included in the PSR, the

recommended guideline imprisonment range is 15 to 21 months, with a fine range of $5,500 to

$55,000.




3
  The plea agreement contemplated two levels of credit for acceptance of responsibility under U.S.S.G. § 3E1.1(a).
However, because the PSR writer chose not to include any reduction for a mitigating role under § 3B1.2, the resulting
offense level was 16, which triggered an additional one-point reduction for acceptance of responsibility under U.S.S.G.
§ 3E1.1(b).
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        At Criminal History Category II and total offense level of 12, as contemplated by the

government in the plea agreement, the recommended guideline imprisonment range is 12 to 18

months, with a fine range of $5,500 to $55,000.4

        At Criminal History Category II and total offense level of 10, as contemplated by the

defendant in the plea agreement, the recommended guideline imprisonment range is 8 to 14

months, with a fine range of $4,000 to $40,000.

        As to the mitigating role adjustment, the Draft PSR (ECF No. 14 ¶¶ 26, 120) concluded

that a reduction was not warranted because the defendant’s “conduct appears to be that of an

average participant[.]” The Final PSR reaches the same conclusion. The government previously

filed an objection to the Draft PSR’s lack of a mitigating role adjustment (ECF No. 15). The

government hereby incorporates herein by reference its objection to the lack of a mitigating role

adjustment in the Final PSR. The government further reiterates its position that a two-level

reduction under U.S.S.G. § 3B1.2(b) for the defendant being a “minor participant” in the scheme

is appropriate, but that any greater mitigating role adjustment, as may be requested by the

defendant, is not appropriate and would cause unreasonable sentencing disparities between the

defendant and Stacy Staples.5


4
  The PSR states that “[s]hould the Court agree with the Government, the total offense level would be 11, and the
applicable guidelines range would be 10 months to 16 months incarceration (a Zone C sentence)” (PSR p. 34).
However, under the government’s proposal, the offense level prior to accounting for acceptance of responsibility
would be 14. Consequently, the defendant would receive only a two-level reduction for acceptance of responsibility,
and not the additional one-point reduction under U.S.S.G. § 3E1.1(b).
5
  The plea agreement (ECF No. 6 ¶ 6, “Reservation of Allocution”) reserves for the parties their ability to address
questions from the PSR writer and the Court where there may be discrepancies between the calculations in the PSR
and the plea agreement.

        The Government and your client reserve the right to describe fully, both orally and in writing, to the
        sentencing judge, the nature and seriousness of your client’s misconduct, including any misconduct
        not described in the charges to which your client is pleading guilty, to inform the presentence report
        writer and the Court of any relevant facts, to dispute any factual inaccuracies in the presentence
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       III.     The 18 U.S.C. § 3553(a) Factors Support a Sentence of Incarceration

       The Court must impose a sentence that is sufficient but not greater than necessary to reflect

the seriousness of the offense, to promote respect for the law, to provide just punishment, to afford

adequate deterrence, to protect the public from further crimes of the defendant, and to provide the

defendant with needed educational or vocational treatment. 18 U.S.C. § 3553(a)(2). The Court

also must consider the nature and circumstances of the offense, the history and characteristics of

the defendant, the kinds of sentences available, the sentencing range under the guidelines, any

relevant policy statements, the need to avoid unwarranted sentencing disparities, and the need to

provide restitution to the victims. 18 U.S.C. § 3553(a)(1)-(7).

                A.       The Nature and Circumstances of the Offense and the Need for the
                         Sentence to Reflect the Seriousness of the Offense

       The defendant’s participation in the fraudulent scheme was not a one-off event nor a crime

of opportunity: it was a deliberate concerted offense, committed multiple times. In at least thirty-

four separate instances, the defendant worked with Owens to jointly fleece the labor union for

whom Owens worked. And, so far as the facts in the PSR reflect, though the defendant appears

to have been earning a legitimate paycheck from other jobs during the time he committed the




       report, and to contest any matters not provided for in this Agreement. The parties also reserve the
       right to address the correctness of any Sentencing Guidelines calculations determined by the
       presentence report writer or the court, even if those calculations differ from the Estimated Guidelines
       Range calculated herein. In the event that the Court or the presentence report writer considers any
       Sentencing Guidelines adjustments, departures, or calculations different from those agreed to and/or
       estimated in this Agreement, or contemplates a sentence outside the Guidelines range based upon
       the general sentencing factors listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer
       any related inquiries from the Court or the presentence report writer and to allocute for a sentence
       within the Guidelines range, as ultimately determined by the Court, even if the Guidelines range
       ultimately determined by the Court is different from the Estimated Guidelines Range calculated
       herein.
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instant fraud (see PSR ¶¶ 93), he nonetheless joined Owens in the embezzlement scheme to make

additional easy money.

       Relevant to this factor is the nature of the victim here: AFGE is a labor union whose funds

are—literally—the money of its members, overwhelmingly government employees.                  AFGE

represents over 670,000 employees of the federal government, about 5,000 employees of the

District of Columbia, and a few hundred private sector employees, mostly in and around federal

facilities. The pooled funds of members are—as AFGE’s motto puts it, to allow the union “To

Do For All That Which No One Can Do For Oneself.” Those funds are intended for its operations,

including supporting collective bargaining and advocating for the rights of government employees.

That embezzlement of union funds is particularly wrongful is demonstrated by Congress’s creation

of the criminal statute at issue here specifically punishing those officers and employees who steal

from a labor organization—separate and apart from other criminal statutes such as wire fraud, that

criminalize such schemes regardless of the victim.

       Considering these factors, the requested sentence would reflect the nature, circumstances,

and seriousness of the offense.

               B.      The Need to Promote Respect for the Law and to Deter the Defendant
                       and Others from This Type of Criminal Conduct

       A guidelines sentence of incarceration for the defendant’s willing participation in a

planned, deliberate, months-long fraud scheme is appropriate to promote respect for the law and

to deter other would-be embezzlers, particularly in the District where many charities and non-

profit organizations are at risk of suffering similar frauds. Additionally, such a sentence will also

specifically deter the defendant from considering any future re-offenses.



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               C.      The History and Circumstances of the Defendant

        The defendant deserves credit for early acceptance of responsibility and admitting his role

in the offense before being formally charged. Also, as the PSR describes, the defendant has

managed—to his credit—to overcome some undeniably challenging life circumstances that he

faced earlier in his life. He has otherwise led a mostly-productive and responsible life, has

pursued higher education, and is currently gainfully employed. The recommended sentence

acknowledges and incorporates these past challenges, and the defendant’s efforts to overcome

them.

        The recommended sentence also acknowledges, as accounted for in the USSG, the

defendant’s prior criminal record.

               D.      Unwarranted Sentencing Disparities

        The District of Columbia Circuit has recognized that there will “inevitably . . . [be]

sentencing disparities and inequities that can be explained by little more than the identities of the

sentencing judges.” United States v. Gardellini, 545 F.3d 1089, 1096 (D.C. Cir. 2008); see also

United States v. Saez, 444 F.3d 15, 19 (1st Cir. 2006) (“[W]ith different judges sentencing two

defendants quite differently, there is no more reason to think that the first one was right than the

second.”). The Guidelines “reduce unwarranted federal sentencing disparities,” Freeman v.

United States, 564 U.S. 522, 525 (2011), by “creat[ing] a comprehensive sentencing scheme in

which those who commit crimes of similar severity under similar conditions receive similar

sentences.” Id. at 533.

        A sentencing court “necessarily g[ives] significant weight and consideration to the need to

avoid unwarranted disparities” by “correctly calculat[ing] and carefully review[ing] the Guidelines

range.” Gall v. United States, 552 U.S. 38, 54 (2007). “[I]mposing a within-guidelines sentence
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is the surest way to avoid unwarranted disparities.” United States v. White, 737 F.3d 1121, 1145

(7th Cir. 2013).

       Co-conspirator Owens, who organized and oversaw the entire scheme, was previously

sentenced to a term of 15 months’ imprisonment, which represented a below-guidelines sentence

in contrast to the government’s recommended sentence of 30 months.                Staples, who was

somewhat similarly-situated to the defendant in terms of their respective roles in the scheme, was

previously sentenced to a term of three years of probation. As noted above, however, Staples

participated in the scheme for a much shorter period of time than did the defendant, and received

a significantly smaller sum of money. Moreover, unlike the defendant, Staples had no criminal

history and was scored at Criminal History Category I. Accordingly, the government believes the

recommended within-guidelines sentence is appropriate.

               E.     Restitution and Forfeiture

       As part of the Information and plea agreement in this case, the defendant agreed to the

entry of a forfeiture money judgment, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §

2461(c) and 21 U.S.C. § 853(p). Based upon the facts set forth in the statement of offense and

the PSR, the forfeiture money judgment against him should be in the amount of $205,421.82. A

proposed final order of forfeiture is attached as an exhibit to this Memorandum.

       In addition to forfeiture, the defendant also should be ordered to pay restitution in the total

amount of $205,421.82. Mandatory restitution applies in this case under 18 U.S.C. § 3663A.




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                                        CONCLUSION

       WHEREFORE, for the foregoing reasons, the Court should sentence the defendant to a

term of 15 months of imprisonment, followed by three years of supervised release, order restitution

in the amount of $205,421.82, and issue a consent order of forfeiture with a money judgment in

the amount of $205,421.82. This guidelines sentence is appropriate given all the § 3553(a) factors

here. Such a sentence would be sufficient but not greater than necessary to achieve the purposes

of sentencing.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     for the District of Columbia

                                             By:           /s/ Brian P. Kelly
                                                     BRIAN P. KELLY
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     District of Columbia
                                                     D.C. Bar No. 983689
                                                     601 D Street NW
                                                     Washington, DC 20530
                                                     (202) 252-7503
                                                     Brian.Kelly3@usdoj.gov




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